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                   EXHIBIT U
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER                                *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                               *
VERSUS                                         *   JUDGE WENDY B. VITTER
                                               *
MARTIAN SALES, INC; JOPEN, LLC, a              *   MAGISTRATE      DONNA      PHILLIPS
Texas      limited      liability   company;   *   CURRAULT
JOHNSON FOODS, LLC, a Wyoming                  *
limited liability company; LP IND., LLC,       *
a Wyoming limited liability company;           *
CAG HOLDINGS, LLC, a Wyoming                   *
limited      liability     company;    RMH     *
HOLDINGS,            INC.,      a   Wyoming    *
corporation;          ABC        INSURANCE     *
COMPANY and John Does 1-4.                     *
************************                       *


      TO:    LP IND., LLC;
             Defendant.

      ON BEHALF OF: Plaintiff, Kathleen Moller

      Pursuant to commission under FRCP 30(b)(6), Plaintiff provides notice and

demands that LP IND., LLC (hereinafter referred to as “LP”) designate in writing

the matters on which such persons will testify and produce for deposition one or more

officers, directors, managing agents and/or other persons who consent to testify on

LP’s behalf as to the following matters known or reasonably available to LP, in the

offices of via remote deposition on January 22, 2025 at 10:00AM EST before an
official court reporter and videographer, and to be continued thereafter until
conclusion as necessary. Please designate such persons by completing and mailing

or delivering a copy of this subpoena to the undersigned in advance of the deposition.

      In this discovery, term “affiliate” refers to any organizations, individual

persons, or business concerns with any shared management or ownership with LP;

doing business as or for LP; predecessors or successors of LP, owning LP; and/or

controlling or controlled by LP. The term “person” refers to any human as well as

natural and legal entities.
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   Plaintiff requests examination on the following matters:

   1.   The quality, quantity, and nature of all contacts between LP and its

        affiliates with and within the state of Louisiana.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   2.   The relationship of LP and its affiliates to OPMS kratom products.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   3.   The relationship of LP and any other named defendant.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   4.   The identity of any person(s) who have done business on behalf of LP

        within Louisiana, and the nature of such business.
                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   5.   The timeframes that LP (and any of its affiliates) received income or

        payments related to the design, development, manufacturing, marketing,

        licensing, and/or sale of OPMS branded kratom sold on an interstate basis
        and into Louisiana specifically.
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                           a. Person Designated:

                                  i. /s/

                           b. Office or title:

                                  i. /s/

   6.   The nature and extent of LP’s affiliation with businesses and entities that

        have developed, manufactured, marketed, licensed, and/or sold OPMS

        branded kratom in interstate commerce and Louisiana specifically.

                           a. Person Designated:

                                  i. /s/

                           b. Office or title:

                                  i. /s/

   7.   LP’s receipt if any, of income or payments arising from the development,

        marketing, licensing, processing, packaging, and/or sale of OPMS kratom.

                           a. Person Designated:

                                  i. /s/

                           b. Office or title:

                                  i. /s/

   8.   The nature and extent of LP IND., LLC’s business operations, including

        its: (a) botanical processing services; (b) quality testing; (c) bulk finished
        products provided to distributors; and (d) the extent to which its business

        operations involve finished and/or branded products that are distributed

        on   the   nationally   and/or     specifically    into   Louisiana   (including

        specification of the finished and branded products that have been the

        subject of LP IND., LLC’s business operations and the relationship of

        those operations to Jordan Process).              This would also include an

        explanation of who or what has been responsible for the ownership,
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        management, control, and accounting for LP IND., LLC’s business

        operations for the five years preceding Harmony Moller’s death.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   9.   The relationship and activities of Mark Jennings on behalf of LP.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   10. The relationship and activities of Peyton Palaio on behalf of LP.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   11. LP’s confirmation, correction, or other knowledge of the distribution chain

        for OPMS products described in the Tampa Bay Times “Deadly Dose”

        series       of   articles,       which    can      be      found      at:
        https://project.tampabay.com/investigations/deadly-dose/kratom-

        industry/.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/
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   12. LP’s affiliation with, involvement with, or business done with the

       unincorporated entity known as Olistica Life Sciences Group (see:

       https://www.olisticagroup.com/)

                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/

   13. The corporate structure of LP and identity of its members, managers,

       owners, and operators. This includes defendant’s commonality of

       ownership with any individual or entity involved with the stream of

       commerce of OPMS branded kratom on an interstate basis, or into

       Louisiana specifically.

                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/


   14. LP’s kratom processing practices, including a description of its work as a

       kratom processor, its facility, its good manufacturing practices, if any, and
       certifications related to such manufacturing practices, if any.
                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/

   15. The source or sources of kratom processed by LP.

                         a. Person Designated:

                                 i. /s/
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                         b. Office or title:

                                i. /s/

   16. The brands of kratom processed by LP, including identification of entities

       or clients involved in the provision of kratom to LP or receipt of kratom

       from LP which is ultimately sold and marketed as OPMS brand kratom.

                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   17. All agreements or collaborations between or among the Defendant and

       any other persons or entities involved in the importation, marketing,

       distribution, or sale of kratom on an interstate basis, or into Louisiana

       specifically.

                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   18. Communications with individuals or entities in Louisiana regarding your

       kratom activities or the resulting branded and finished products, and/or
       regarding OPMS branded kratom specifically. This would include but not

       be limited to communications with any customer, distributor, consumer,

       employee, or contractor connected to kratom products that were the

       subject of your business operations. This would include but not be limited

       to communications transmitted verbally, electronically, in writing, or via

       social media or customer service platforms.

                         a. Person Designated:
                                i. /s/
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                        b. Office or title:

                               i. /s/

   19. The defendant’s exchange or intermingling of directors, officers, or

       employees (past or present) with each party involved with the stream of

       commerce of WHOLE HERBS, OPMS, and REMARKABLE HERBS

       branded kratom that is sold on an interstate basis, or into Louisiana

       specifically.

                        a. Person Designated:

                               i. /s/

                        b. Office or title:

                               i. /s/




                                  Respectfully submitted,


                                  By: /s/Michael Cowgill
                                     Michael J. Cowgill (FL Bar # 1010945)
                                     Admitted pro hac vice
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                                        -and-

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                                        Attorneys for Plaintiff, Kathleen
                                        Moller
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                           CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 21st day of January, 2025 served a copy

of the foregoing pleading on counsel for all parties to this proceeding via electronic

mail, facsimile, and/or by U.S. mail, properly addressed with first-class postage

prepaid.



                                            /s/ Michael Cowgill
                                            Michael J. Cowgill
